Docusign Envelope ID: 2CE0D2CE-717C-4BCB-9727-00EC3F7439EE
               Case
      Fill in this      25-40248-elm11
                   information to identify the case:Doc 1 Filed 01/23/25               Entered 01/23/25 13:45:12                       Desc Main
                                                               Document             Page 1 of 12
         United States Bankruptcy Court for the:

         ____________________ District of _________________
         Northern District of Texas (State)

                                                                          11
         Case number (If known): _________________________ Chapter ______
                                                                                                                                             Check if this is an
                                                                                                                                                amended filing




    Official Form 201
    V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/24

    If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
    number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1.    Debtor’s name                        Pivotal Med Supply, LLC
                                               ______________________________________________________________________________________________________




    2.    All other names debtor used          ______________________________________________________________________________________________________
          in the last 8 years                  ______________________________________________________________________________________________________
                                               ______________________________________________________________________________________________________
          Include any assumed names,
                                               ______________________________________________________________________________________________________
          trade names, and doing business
          as names                             ______________________________________________________________________________________________________




    3.    Debtor’s federal Employer                 XX-XXXXXXX
                                               ______________________________________
          Identification Number (EIN)



    4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                            of business
                                                   2010 E. Continental Blvd. Suite F                        _______________________________________________
                                               ______________________________________________
                                               Number     Street                                            Number     Street

                                               ______________________________________________               _______________________________________________
                                                                                                            P.O. Box

                                                   Southlake                   TX      76092
                                               ______________________________________________               _______________________________________________
                                               City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business
                                                   Tarrant County
                                               ______________________________________________
                                               County                                                       _______________________________________________
                                                                                                            Number     Street

                                                                                                            _______________________________________________

                                                                                                            _______________________________________________
                                                                                                            City                      State      ZIP Code




    5.    Debtor’s website (URL)                https://pivotalmedsupply.com/
                                               ____________________________________________________________________________________________________


    6.    Type of debtor                       
                                               ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                Partnership (excluding LLP)
                                                Other. Specify: __________________________________________________________________


    Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                    Pivotal Med Supply, LLC
    Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                    Name


                                             A. Check one:
    7.    Describe debtor’s business
                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              None of the above

                                             B. Check all that apply:
                                              Tax-exempt entity (as described in 26 U.S.C. § 501)
                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                              Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                                See http://www.naics.com/search/ .
                                                 4461
                                                _____
    8.    Under which chapter of the         Check one:
          Bankruptcy Code is the              Chapter 7
          debtor filing?
                                              Chapter 9
                                             
                                             ✔ Chapter 11. Check all that apply:

                                                           
                                                           ✔     Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                  insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                  4/01/25 and every 3 years after that).
           A debtor who is a “small business
           debtor” must check the first sub-                  
                                                              ✔     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
           box. A debtor as defined in                            debtor is a small business debtor, attach the most recent balance sheet, statement
           § 1182(1) who elects to proceed                        of operations, cash-flow statement, and federal income tax return or if all of these
                                                                  documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
           under subchapter V of chapter 11
           (whether or not the debtor is a                    
                                                              ✔
                                                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
           “small business debtor”) must                          chooses to proceed under Subchapter V of Chapter 11.
           check the second sub-box.
                                                                   A plan is being filed with this petition.

                                                                   Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                  Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                  Rule 12b-2.
                                              Chapter 12


    9.    Were prior bankruptcy cases         No
          filed by or against the debtor
          within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                                   MM / DD / YYYY
          If more than 2 cases, attach a
          separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY

    10. Are any bankruptcy cases              No
          pending or being filed by a
          business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
          affiliate of the debtor?                      District _____________________________________________ When              __________________
          List all cases. If more than 1,                                                                                        MM / DD / YYYY
          attach a separate list.                       Case number, if known ________________________________

         Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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                   Pivotal Med Supply, LLC
    Debtor         _______________________________________________________                         Case number (if known)_____________________________________
                   Name




    11. Why is the case filed in this         Check all that apply:
       district?
                                               Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               ✔

                                                   immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                   district.

                                               A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

    12. Does the debtor own or have           
                                              ✔ No
       possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                            What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.
                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options).

                                                         Other _______________________________________________________________________________


                                                        Where is the property?_____________________________________________________________________
                                                                                  Number         Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________        _______     ________________
                                                                                  City                                           State       ZIP Code


                                                        Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________
                                                                 Contact name     ____________________________________________________________________

                                                                 Phone            ________________________________




              St a t ist ic a l a nd a dm inist ra t ive informa t ion



    13. Debtor’s estimation of                Check one:
       available funds                         Funds will be available for distribution to unsecured creditors.
                                               ✔


                                               After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                               1-49
                                               ✔
                                                                                 1,000-5,000                             25,001-50,000
    14. Estimated number of
                                               50-99                            5,001-10,000                            50,001-100,000
       creditors
                                               100-199                          10,001-25,000                           More than 100,000
                                               200-999

                                               $0-$50,000                       $1,000,001-$10 million                  $500,000,001-$1 billion
    15. Estimated assets
                                               $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                               $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                               $500,001-$1 million
                                               ✔
                                                                                 $100,000,001-$500 million               More than $50 billion



     Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
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                 Pivotal Med Supply, LLC
    Debtor       _______________________________________________________                            Case number (if known)_____________________________________
                 Name



                                              $0-$50,000                         $1,000,001-$10 million
                                                                                     ✔
                                                                                                                            $500,000,001-$1 billion
    16. Estimated liabilities
                                              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                              $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


               Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
               $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                                 petition.
       debtor
                                                I have been authorized to file this petition on behalf of the debtor.

                                                I have examined the information in this petition and have a reasonable belief that the information is true and
                                                 correct.


                                             I declare under penalty of perjury that the foregoing is true and correct.

                                                                01/23/2025
                                                 Executed on _________________
                                                             MM / DD / YYYY


                                              /s/ Noah Seitel
                                                 _____________________________________________               Noah Seitel
                                                                                                            _______________________________________________
                                                 Signature of authorized representative of debtor           Printed name
                                                                                         1/23/2025
                                                        President
                                                 Title _________________________________________
                                                                                                                                 1/23/2025




    18. Signature of attorney
                                              /s/ Richard Grant
                                                 _____________________________________________              Date         01/23/2025
                                                                                                                         _________________
                                                  Signature of attorney for debtor                                       MM   / DD / YYYY



                                                  Richard Grant
                                                 _________________________________________________________________________________________________
                                                 Printed name
                                                  CULHANE, PLLC
                                                 _________________________________________________________________________________________________
                                                 Firm name
                                                  13101 Preston Road, Suite 110-1510
                                                 _________________________________________________________________________________________________
                                                 Number     Street
                                                  Dallas
                                                 ____________________________________________________             TX            75240
                                                                                                                ____________ ______________________________
                                                 City                                                           State        ZIP Code

                                                  214-210-2929
                                                 ____________________________________                              rgrant@cm.law
                                                                                                                __________________________________________
                                                 Contact phone                                                  Email address



                                                  08302650                                                        TX
                                                 ______________________________________________________ ____________
                                                 Bar number                                             State




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                           PIVOTAL MED SUPPLY, LLC, A TEXAS LIMITED LIABILITY
                                            RESOLUTIONS
                                                       JANUARY 23, 2025


                                          SECRETARY’S CERTIFICATE OF
                                      RESOLUTION AUTHORIZING CHAPTER 11

                    The undersigned hereby certifies that the following resolutions were adopted by
            unanimous consent of the managers and members (the “Governing Body”) of Pivotal Med
            Supply, LLC, a Texas limited liability company (the “Company”) at a meeting duly noticed,
            called and held, with all directors present for the quorum, on January 23, 2025 and by unanimous
            written consent pursuant to the bylaws or similar document (in the case as amended or amended
            and restated to date) of the Company and the laws of the state of Texas:

                    WHEREAS, the Governing Body has considered presentations by the management and
            the financial and legal advisors of the Company regarding the liabilities and liquidity situation of
            the Company, the strategic alternatives available to it, and the effect of the foregoing on the
            Company's business; and

                    WHEREAS, the Governing Body has had the opportunity to consult with the
            management and the financial and legal advisors of the Companies and to fully consider the of
            the strategic alternatives available to the Companies and has determined, in the judgment of the
            Governing Body, that the following resolutions are in the best interests of the Company and their
            respective creditors.

            NOW, THEREFORE, BE IT:

            CHAPTER 11 FILING

                     RESOLVED, that, in the judgment of the Governing Body, it is desirable and in the best
                     interests of the Company, its creditors, and other parties in interest, that the Company
                     shall be, and hereby is, authorized to file, or cause to be filed, a voluntary petition for
                     relief (the “Chapter 11 Case”) under the provisions of chapter 11 (“Chapter 11”) and
                     Subchapter V thereof (“Subchapter V”) of title 11 of the United States Code, 11 U.S.C.
                     §§ 101-1532 (the “Bankruptcy Code”), in the United States Bankruptcy Court for the
                     Northern District of Texas (the “Bankruptcy Court”) or other court of competent
                     jurisdiction and any other petition for relief or recognition or other order that may be
                     desirable under applicable law in the United States; and
                     RESOLVED, that any of the Chief Executive Officer, Chief Financial Officer, Chief
                     Operating Officer, Chief Legal Officer, Secretary, any Executive Vice President, any
                     Senior Vice President, or any other duly appointed officer of the Company (collectively,
                     the “Authorized Signatories”), acting alone or with one or more other Authorized
                     Signatories be, and hereby is, authorized, empowered, and directed to execute and file on
                     behalf of the Company all petitions, schedules, lists, and other motions, pleadings,


                                                              1
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                     papers, or documents, and to take any and all action that they deem necessary,
                     appropriate, or desirable to obtain such relief, including, without limitation, any action
                     necessary, appropriate, or desirable to maintain the ordinary course operation of the
                     Company’s business.

            RETENTION OF PROFESSIONALS

                     RESOLVED, that the of the Authorized Signatories be, and hereby is, authorized,
                     empowered, and directed to employ the law firm of CM Law PLLC as general
                     bankruptcy counsel to represent and assist the Company in carrying out its duties under
                     the Bankruptcy Code, and to take any and all actions to advance the Company's rights
                     and obligations, including the preparation and filing of any motions, objections, replies,
                     applications, or pleadings and conducting any potential sale process on behalf of the
                     Company in the Chapter 11 Case; and in connection therewith, the of the Authorized
                     Signatories, acting alone or in any combination, with power of delegation, is hereby
                     authorized, empowered, and directed to execute appropriate retention agreements, pay
                     appropriate retainers, if required, prior to and immediately upon the filing of the Chapter
                     11 Case, and to cause to be filed an appropriate application for authority to retain CM
                     Law PLLC;
                     RESOLVED, that the of the Authorized Signatories be, and hereby is, authorized,
                     empowered, and directed to employ any other professionals to assist the Company in
                     carrying out its duties under the Bankruptcy Code; and in connection therewith, the of the
                     Authorized Signatories, acting alone or in any combination, with power of delegation, is
                     hereby authorized, empowered, and directed to execute appropriate retention agreements,
                     pay appropriate retainers and fees, if required, prior to and immediately upon the filing of
                     the Chapter 11 Case, and to cause to be filed an appropriate application for authority to
                     retain the services of any other professionals as necessary, appropriate, or desirable; and
                     RESOLVED, that the of the Authorized Signatories, acting alone or in any combination,
                     be, and the hereby is, with power of delegation, authorized, empowered, and directed to
                     execute and file all petitions, schedules, motions, lists, applications, pleadings, and other
                     papers and, in connection therewith, to employ and retain all assistance by legal counsel,
                     accountants, financial advisors, restructuring advisors, and other professionals and to take
                     and perform any and all further acts and deeds that the of the Authorized Signatories
                     deems necessary, appropriate, or desirable in connection with the Chapter 11 Case.

            GENERAL

                     RESOLVED, that, in addition to the specific authorizations heretofore conferred upon
                     the Authorized Signatories, the of the Authorized Signatories (and their designees and
                     delegates) be, and hereby is, authorized and empowered, in the name of and on behalf of
                     the Company, to take or cause to be taken any and all such other and further action, and
                     to execute, acknowledge, deliver, and file any and all such agreements, certificates,
                     instruments, and other documents and to pay all expenses, including, but not limited to,
                     filing fees, in the case as in such Authorized Signatory’s judgment, shall be necessary,
                     appropriate, or desirable in order to fully carry out the intent and accomplish the purposes
                     of the resolutions adopted herein;

                                                               2
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                     RESOLVED, that the Governing Body of the Company has received sufficient notice of
                     the actions and transactions relating to the matters contemplated by the foregoing
                     resolutions, as may be required by the organizational documents of the Company, or
                     hereby waives any right to have received such notice;
                     RESOLVED, that any and all acts, actions, and transactions relating to the matters
                     contemplated by the foregoing resolutions done in the name of and on behalf of the
                     Company, which acts would have been approved by the foregoing resolutions except that
                     such acts were taken before the adoption of these resolutions, are hereby in all respects
                     approved, adopted, confirmed, and ratified as the true acts and deeds of the Company
                     with the same force and effect as if the such act, transaction, agreement, or certificate had
                     been specifically authorized in advance by resolution of the Governing Body;
                     RESOLVED, that the of the Authorized Signatories (and their designees and delegates)
                     be, and hereby is, authorized and empowered to take all actions or to not take any action
                     in the name of the Company with respect to the transactions contemplated by these
                     resolutions hereunder, as such Authorized Signatory shall deem necessary, appropriate, or
                     desirable in such Authorized Signatory's reasonable business judgment as may be
                     necessary, appropriate, or desirable to effectuate the purposes of the transactions
                     contemplated herein;
                     RESOLVED, that this unanimous omnibus written consent may be executed in as many
                     counterparts as may be required; all counterparts shall collectively constitute one and the
                     same consent; and facsimile or photostatic copies of signatures to this consent shall be
                     deemed to be originals and may be relied on to the same extent as the originals.
            SO RESOLVED AND CERTIFIED January 23, 2025:



                                                               1/23/2025
            NOAH SEITEL, Member and acting Secretary



                                              1/23/2025
            GREGORY SEE, Member




                                                               3
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Row Labels
   Assets                                                $ 1,747,735
     Current Assets                                      $ 1,270,281
       Bank Accounts                                     $ 128,311
          Pinnacle - 1367 - Operating Account            $ 125,940
          Pinnacle - 2883 - Deposit Account              $      2,371
       Accounts Receivable                               $ 750,420
          Accounts Receivable                            $ 727,533
          Contra A/R - Charge adjustment to net          $ (270,987)
          Other Receivables                              $     83,896
          Allowance for Doubtful Accounts                $        -
        Accounts Receivable - Sales Service              $ 209,978
       Inventory                                         $ 262,640
          Roswell Rd Inventory                           $ 649,976
          Inventory Interim                              $ (461,810)
          Southlake Inventory                            $     74,474
          In- Transit Inventory                          $        -
      Other Current Assets                               $ 128,911
          Unearned Revenue                               $ 114,655
        Security Deposit                                 $     14,255
     Other Current Assets                                $      7,201
     Other Assets                                        $ 470,252
       Fixed Assets                                      $ 168,587
          Furniture & Fixtures                           $     49,580
          Accumulated Depreciation                       $    (30,983)
          Computer Hardware                              $     72,389
          Leasehold Improvements                         $     77,600
          Accumulated Amortization                       $        -
       Intercompany Asset                                $ 301,665
          Due To/From - Biovotec                         $ 100,000
          Due To/From - Fab Five Freddy                  $     55,784
          Due To/From - Summit Product Group             $     17,653
        Due To/From - Vista DME                          $        499
          Due To/From - Xlta                             $ 127,729
   Liabilities                                           $ (6,131,200)
     Current Liabilities                                 $ (1,064,612)
     Other Current Liability                             $ (5,066,587)
       Other Current Liability                           $ (5,066,587)
          Accrued Commission                             $ (108,395)
          Accrued Commissions - Sales Service            $ (395,888)
          Accrued Expenses                               $        -
          Reimbursement Clearing                         $    (23,600)
          Payroll Taxes Payable                          $    (25,715)
          Accrued Tax - Sales Service                    $        -
          401K Payable                                   $        -
          Garnishment Payable                            $     (1,400)
        Due To/From - Greg See                           $ (2,405,025)
        Due To/From - Noah Sietel                        $ (2,106,563)
     Intercompany Liabilities                            $          (0)
       Intercompany Liabilities                          $          (0)
          Due To/From - EPSFL                            $        -
          Due To/From - Total Ancillary Management       $          (0)
   Equity                                                $ 162,828
     Equity                                              $ 162,828
       Retained Earnings                                 $ 162,828
          Retained Earnings                              $ 162,828
       Contributions & Distributions                     $        -
          Paid In Capital                                $        -
 Grand Total                                             $ (4,220,637)
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Income Statement



                                                                                       2024 Total
Account Group            Name                                         2024-12
  Revenue                DME Revenue                                   $      208,653 $ 3,128,440
                         Contra Revenue - Insurance Claim Writeoffs    $      (51,585) $ (1,462,066)
                         Buy & Bill Revenue                            $          168 $        3,568
                         Buy & Bill w IVR Revenue                      $       37,993 $      199,070
                         Hospital Revenue                                               $      3,750
                         Sales Service Revenue                         $      209,978 $      739,366
Revenue Total                                                          $      405,207 $ 2,612,128
                                                                       $      405,207 $ 2,612,128
  COGS                   Product Cost                                  $      (31,475) $ (486,946)
                         Product Shipping Cost                         $       (4,952) $     (48,426)
                         Direct Costs (should be Zero)                 $          -     $           (0)
COGS Total                                                             $      (36,427) $ (535,373)
                                                                       $      (36,427) $ (535,373)
  Payroll Expense        Bonus Expense                                 $      (20,000) $     (36,515)
                         Commission Expense                            $      119,092 $ (300,282)
                         Sales Service Commission Expense              $    (141,040) $ (508,874)
                         Contract Labor Expense                        $      (38,437) $ (1,034,143)
                         Employee relocation                                            $    (10,132)
                         Payroll Expense                               $    (339,081) $ (2,445,852)
                         Payroll Processing Fees                       $          452 $       (4,685)
                         Payroll Tax                                   $      (26,853) $ (231,603)
                         Payroll Tax - Sales Service                   $       (5,553) $     (25,715)
Payroll Expense Total                                                  $    (451,418) $ (4,597,802)
  Employee Benefits      Employee Benefits                                              $         -
                         401k Expense                                  $       (2,998) $     (10,521)
                         Health Insurance                              $      (32,465) $ (226,244)
Employee Benefits Total                                                $      (35,463) $ (236,764)
  Professional Fees      Employee Recruiting Fees                                       $    (73,500)
                         Professional Fees                             $          -     $         -
                         Other Professional Fees                       $          100 $      (13,070)
                         Legal Fees                                    $      (20,253) $ (269,658)
                         Accounting Fees                                                $     (2,100)
Professional Fees Total                                                $      (20,153) $ (358,327)
  Travel & Entertainment Airfare                                       $       (7,355) $ (104,997)
                         Auto Expense                                  $      (13,033) $ (111,244)
                         Client Meals - No provider present            $       (3,094) $     (22,737)
                         Gas                                           $       (4,853) $     (22,337)
                         Ground Transportation                         $       (2,232) $     (21,535)
                         Hotel/Lodging                                 $       (7,298) $ (109,378)
                         Meals and Entertainment (100%)                $       (4,553) $     (56,019)
                         Provider Meals and Entertainment (50%)        $      (13,605) $ (112,977)
                         Travel                                        $         (112) $     (70,579)
Travel & Entertainment Total                                           $      (56,136) $ (631,803)
  Marketing Expense      Advertising & Marketing                       $       (1,155) $     (25,991)
                         Samples                                                        $    (21,938)
Marketing Expense Total                                                $       (1,155) $     (47,928)
  Office Expense         Office Supplies                               $       (4,626) $     (30,753)
                         Shipping & Freight                            $         (235) $     (14,020)
Office Expense Total                                                   $       (4,861) $     (44,773)
                                                                       $    (569,186) $ (5,917,398)
  Bank Fees              Bank Fees & Service Charges                   $       (2,786) $     (10,673)
Bank Fees Total                                                        $       (2,786) $     (10,673)
  Rent & Utilities       Electric                                      $         (808) $      (5,753)
                         Internet & TV                                                  $       (995)
                         Lease Expense                                 $      (19,593) $ (145,396)
                         Telephone expense                             $       (1,099) $     (12,803)
Rent & Utilities Total                                                 $      (21,500) $ (164,947)
  IT Expenses            Computer Hardware                                              $     (5,880)
                         IT Hardware                                                    $         -
                         Software                                      $      (12,570) $ (126,557)
IT Expenses Total                                                      $      (12,570) $ (132,436)
   Licensing Expenses    Business License Expense                                       $    (29,751)
                         Vendor Credentialing Expense                                   $     (1,312)
Licensing Expenses Total                                                                $    (31,063)
  Office Expense         Cleaning Service                                               $       (325)
Office Expense Total                                                                    $       (325)
  Repairs and MaintenancRepair and Maintenance                                          $     (6,155)
Repairs and Maintenance Expense Total                                                   $     (6,155)
  Depreciation & AmoritizAmortization expense                                           $         -
                         Depreciation expense                          $       (2,464) $     (30,983)
Depreciation & Amoritization Total                                     $       (2,464) $     (30,983)
  Other Income & Expens Other expense                                                   $     (3,413)
Other Income & Expenses Total                                                           $     (3,413)
                                                                       $      (39,320) $ (379,994)
                                                                       $    (239,726) $ (4,220,637)
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Pivotal Med Supply

State of Cash Flows


 Cash Flow Statement               Dec-24             YTD 2024


 Net Income                 $       (240,292.32) $ (4,221,203.03)


  Add Depreciation          $            2,463.94 $     30,982.90


 Operations Activities
  Current Assets
   AR                       $        (79,849.39) $ (750,419.74)
   Unearned Revenue         $         45,905.45 $ (128,910.65)
   Inventory                $         (4,282.05) $ (262,640.46)
   Intercompany             $        (13,315.59) $ (301,665.10)
   PrePaid Expense          $         (9,199.84) $      (7,201.44)


  Current Liabilities
   AP                       $         (2,290.58) $     849,848.18
   AMEX                     $         17,088.79 $      163,241.95
   Health Insurance         $               0.00 $      (1,325.52)
   Payroll Clearing         $         51,156.68 $       55,379.32
   Sales tax payable        $                -   $         309.38
   Other Current Liabilities $        21,514.26 $      554,998.45


 Investment Activities
  Fixed Assets              $                -   $     (77,221.82)


 Financiing Activies
  Notes From - Greg/Noah    $        307,973.60 $ 4,214,877.74


 Net Cash Flow              $         96,872.95 $      119,050.16 Agrees to Change in Bank Accounts from B/S
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            Telephone: 214-210-2929
            Email: rgrant@cm.law

            ATTORNEYS FOR
            DEBTOR IN POSSESSION

                                            UNITED STATES BANKRUPTCY COURT
                                           FOR THE NORTHERN DISTRICT OF TEXAS
                                                  FORT WORTH DIVISION

              In re:                                           §               Case No. 25-_____-11
                                                               §              Chapter 11 (Subchapter V)
              PIVOTAL MED SUPPLY, LLC,                         §
                                                               §
                        Debtor.                                §
                                                               §


                                            DECLARATION OF NOAH SEITEL
                                           REGARDING VOLUNTARY PETITION
                                            PURSUANT TO 11 U.S.C. §1116(1)(B)

                       I, Noah Seitel, hereby declare under penalty of perjury as follows:

                       1.     I am a managing member of Pivotal Med Supply, LLC, a Texas limited liability

            company (“PMS” and, together with the other above-captioned debtors, the “Debtors’), the debtor

            and debtor in possession in the above-captioned chapter 11 case. I generally am familiar with the

            Debtor’s day-to-day operations, business and financial affairs, and books and records.

                       2.     Except as otherwise indicated, all facts set forth in this Declaration are based upon

            my personal knowledge, my discussions with other members of the Debtor’s management team

            and the Debtor’s advisors, my review of relevant documents and information concerning the

            Debtor’s operations, financial affairs, and prior restructuring initiatives, and/or my opinions based

            upon my experience and knowledge. If called as a witness, I could and would testify competently
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            to the facts set forth in this Declaration. I am authorized to submit this Declaration on behalf of

            the Debtor.

                     3.      Attached to the Petition are the Debtor’s most recent balance sheet, statement of

            operations and cash-flow statement.

                     4.      No tax return has been filed solely for the Debtor. A Form 1065 has been filed with

            the Internal Revenue Service on a consolidated basis by a related entity and its subsidiaries. I do

            not believe that the Debtor should have been included in such return. In any event, such return

            contains confidential information regarding many non-Debtor entities. The Debtor does not have

            authority to attach such tax return to the Voluntary Petition. The Debtor will make such

            information in its possession, custody and control not subject to confidentiality obligations

            available subject to appropriate protective orders from the Court.


                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

            statements are true and correct to the best of my knowledge, information, and belief.


               Dated: January 23, 2025                          /s/ Noah Seitel
                                                                Noah Seitel           1/23/2025
                                                                Managing Member
                                                                Pivotal Med Supply, LLC
